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                IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                           MISSOULA DIVISION
    _____________________________________________________________
                                  )
T.C., G.C., and JANE DOE          )
                                  ) Case No. CV 9:17-cv-00176-DWM
             Plaintiffs,          )
                                  )
      vs.                         )   FIRST AMENDED COMPLAINT
                                  )   AND DEMAND FOR JURY
                                  )   TRIAL
FRENCHTOWN SCHOOL                 )
DISTRICT                          )
and                               )
RANDY CLINE, in his               )
individual capacity               )
                                  )
             Defendants.          )
______________________________ )_____________________________

      T.C., G.C., and Jane Doe (“Ms. Doe”) (collectively “Plaintiffs”) for their First Amended


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Complaint against Defendants, Frenchtown School District and Randy Cline (collectively

“Defendants”), state as follows:

                               PARTIES, JURISDICTION AND VENUE

         1.      Ms. Doe is a Montana resident who lives in Mineral County. During the 2016-2017

academic year, Doe was a student enrolled at Frenchtown High School in the Frenchtown School

District.

         2.      T.C. and G.C. are the parents of Ms. Doe. They are Montana residents currently

living in Mineral County.

         3.      Defendant Frenchtown School District (“FSD”) is a Montana public school district.

FSD receives both state and federal funding and is subject to Title IX of the Educational

Amendments of 1972, 20 U.S.C. § 1681(a) (“Title IX”).

         4.      Upon information and belief, Defendant Randy Cline (“Superintendent Cline”) is a

Montana resident. During the 2016-2017, and 2017-2018 academic years, Superintendent Cline

was employed by FSD as Superintendent of the school district.

         5.      This Court has jurisdiction over this action under 28 U.S.C. §1331 and 28 U.S.C.

§1367.

         6.      Venue is proper in this Court under 28 U.S.C. §1391(b)(1) and (2).

                                     GENERAL ALLEGATIONS

                                       Summary of Claims

         7.      On several occasions beginning in 2014, defendants FSD and Superintendent Cline

received reports from parents and students of disturbing conduct by Troy Bashor, a music and

theater teacher at Frenchtown School District, including reports that Mr. Bashor was engaging in

inappropriate touching and harassing behaviors with female students at the school and other



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conduct that indicated a clear lack of appropriate boundaries with female students. Although FSD

employees were subject to mandatory reporting obligations under Montana law, they chose to

ignore the reports of Mr. Bashor’s predatory behavior and failed to take any measures to protect

female students at Frenchtown High School from harm.

       8.      As a direct result of these failures, Bashor sexually harassed and assaulted Doe.

       9.      Beginning in January 2017, shortly after Doe disclosed Bashor’s conduct to her

parents, the Missoula County Sheriff’s Office conducted a criminal investigation. As a result of

that investigation, the Missoula County Sheriff’s office charged Mr. Bashor with sexual assault.

       10.     In light of the specific, detailed and repeated reports given to FSD administrators,

including Superintendent Cline, FSD had actual notice of Mr. Bashor’s severe and pervasive

sexual harassment of students at Frenchtown High School for two years before Doe was sexually

harassed and assaulted.

       11.     At no time after those reports did FSD administrators take any official action

against Mr. Bashor prior to his sexual assault of Doe, although they had the responsibility and

authority as his supervisors and FSD administrators to take such action.

       12.     FSD further failed to take any action to address the hostile educational environment

that Doe experienced after she reported Mr. Bashor’s misconduct, including harassment, bullying,

and threats by other Frenchtown students and staff loyal to Mr. Bashor. The bullying and retaliation

that Doe experienced between January and May 2016 forced Doe to leave Frenchtown School

District and has resulted in ongoing mental and emotional distress.


                               Sex Offender Grooming Behaviors

       13.     According to countless publications and online resources addressing child sexual

abuse, “grooming” is a process that sexual predators use to gain the trust and confidence of children


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and to “prepare” a child for sexual misconduct. Sexual predators frequently target vulnerable

students for grooming and look to those who may be dealing with stressful environments at home,

lack self-confidence, are new to the environment, or are isolated from their peers. After a

vulnerable student is selected, the predator typically engages in increasingly inappropriate

boundary violations including spending excess time with the student, engaging with them in

activities typically reserved for minors (such as online games), discussing matters typically

reserved for adults, telling private or secret information, and inviting the student to spend time

with them outside of the normal teacher-student relationship.

       14.     Eventually, in a grooming relationship, the offender progresses to physical

boundary violations, including blurring the line between inappropriate and appropriate touching.

This can include playing physical games with the student, teasing them with physical conduct,

massages, and other physical activities. These physical boundary violations act to confuse the

student’s normal response to unwanted physical contact and become the offender’s gateway to

inappropriate sexual conduct.

       15.     Finally, when a predator is grooming a student, he will typically act to isolate the

student, providing increasing opportunities to interact one-on-one. This may include offers to

privately coach or tutor the student, to provide them with transportation to and from events, and to

have them act as a personal assistant or student aide in the classroom environment.

 Frenchtown School District’s Notice of Bashor’s Previous Grooming and Harassment of
                               Another Female Student

       16.     Mr. Bashor is a music and theater teacher at Frenchtown High School and

Frenchtown Junior High School, which are adjoined buildings that share a common campus. Since

2014, multiple female students, including Doe, have reported uncomfortable and harassing




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behaviors by Mr. Bashor, including inappropriate and unwanted touching of students,

inappropriate hugging, and inappropriate discussions of sexual and reproductive topics.

       17.       In the fall of 2014, a female student identified herein as “Student A,” arrived at

Frenchtown Junior High School as a seventh grader. Her father had just passed away, a fact her

mother had disclosed to the school so her teachers and staff could help make the transition easier

and support her through this difficult time. Student A was placed into a seventh grade choir class

with Mr. Bashor and, almost immediately, he began to shower her with physical attention and

inappropriate comments. Mr. Bashor would frequently touch Student A in inappropriate places

such as her bare legs or belly button, gradually becoming more invasive as time went on. He also

hugged her repeatedly, moving from side hugs, to full body frontal hugs.

       18.       In December 2014, Student A approached her mother and asked whether it was

normal for a teacher to touch her in this fashion. Student A explained to her mother what Mr.

Bashor was doing and her mother immediately called Frenchtown High School and spoke with a

school counselor. Shortly thereafter, Superintendent Cline returned the call and Student A’s

mother expressed her concern and frustration over Mr. Bashor’s actions. She explained that Mr.

Bashor’s behaviors towards Student A were not normal and asked that Mr. Bashor’s actions toward

her daughter immediately be addressed. In response, Superintendent Cline said that he would talk

with Mr. Bashor about this behavior. Neither Superintendent Cline nor FSD took any further action

on the matter.

       19.       For a brief period after this report, Mr. Bashor stopped touching Student A. In

spring 2015, however, toward the end of Student A’s seventh grade year, the grooming began

again, including touching her inappropriately, repeatedly hugging her firmly and generally

invading normal physical boundaries. Mr. Bashor would continue to come up to Student A and



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hug her tightly. Occasionally, he would have her jump straight up in the air and catch her with his

arms underneath hers while he spun her around.

       20.     On another occasion in 2016, Student A was at the school coffee shop before class

when Mr. Bashor came up to her and asked her “is this your belly button?” He then proceeded to

poke and rub her stomach. He continued to rub on her stomach until she became uncomfortable

and asked him to stop.

       21.     In a similar incident, Student A hurt her back while in cheerleading practice. Mr.

Bashor offered to pop her back, but Student A declined. Mr. Bashor then offered to rub her back

instead. He proceeded to rub up and down Student A’s back, including rubbing all the way down

to her buttocks. Student A became so uncomfortable that she got up from the room and left.

       22.     These types of inappropriate interactions continued throughout Student A’s eighth

grade and ninth grade years.

       23.     Although Mr. Bashor’s actions made Student A so uncomfortable that she began

actively avoiding him, Student A was hesitant to bring up her concerns with her classmates or

school officials. Mr. Bashor was a much beloved teacher at Frenchtown, with many students

involved in his choir, theater, and music programs, as well as helping out in the coffee shop he

started at the school. Student A knew that many of her classmates related to Mr. Bashor more as

their friend than a teacher, and would be upset and angry if they found out that Student A had

gotten him in trouble.

       24.     Eventually, Student A became so anxious and upset about seeing Mr. Bashor at

school that she told several of her friends that Mr. Bashor’s touching made her uncomfortable. Her

friends immediately reported Mr. Bashor’s conduct to Frenchtown High School’s speech and

debate teacher, Mr. Hutchinson, in December 2016. This report raised concern for Mr. Hutchinson



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who was aware that Mr. Bashor had previously been disciplined for inappropriately touching

students. Mr. Hutchinson spoke directly with Mr. Bashor about these concerns.

       25.     Instead of refraining from any further inappropriate contact with Student A, Mr.

Bashor started texting Student A and asking to speak in private with him. Student A ignored his

texts, stayed out of his class and tried to avoid him as much as possible.

       26.     On January 11, 2017, Student A again reported Mr. Bashor’s touching to her

English teacher, Mr. Coie. At the time they were reading a book about a woman who was raped

over the summer. Student A approached Mr. Coie after class with a friend and told Mr. Coie that

Mr. Bashor had been “handsy” with her. She told Mr. Coie that she felt uncomfortable because of

Mr. Bashor’s actions and that she was scared to walk down the hallways at school for possibility

of running into him. When Mr. Coie asked her what made her uncomfortable, she disclosed that

Mr. Bashor would grab her butt and run his fingers down her spine to the tip of her buttocks.

       27.     On or about January 12, 2017, Mr. Coie reported Student A’s concerns to Principal

Haynes and told him that he needed to speak with Mr. Bashor immediately. Principal Haynes did

not report what Mr. Coie had told him to police and did nothing further with this information until

contacted by police regarding Doe’s assault.

       28.     Mr. Coie, Mr. Hutchinson, and Mr. Haynes are all mandatory reporters under

Montana law.

                     “Everyone’s Favorite Teacher” –Begins Grooming Jane Doe

       29.     In the summer of 2015, Doe moved from Oregon to Frenchtown, Montana. She

started school at Frenchtown High School in the fall of 2015. On her first day at Frenchtown, Doe’s

counselor put her in a musical theater class. She told Doe that everyone liked Mr. Bashor and it

would be a good class for a new student.



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       30.     When Doe arrived to the class, Mr. Bashor introduced himself. He invited her to

have lunch with him and a group of students that he regularly ate with, but Doe decided to eat in

the lunch room instead.

       31.     At the next musical theater class, Mr. Bashor approached Doe and again offered for

her to join him during lunch. By the second week, Doe finally agreed and began joining Mr. Bashor

for lunch.

       32.     Over time, Mr. Bashor began crossing boundaries with Doe and would disclose

intimate details of his life with her, stating that his marriage was struggling because his wife could

not conceive a child.

       33.     Mr. Bashor also began frequently texting Doe on her personal phone and, upon

information and belief, did so with other female students as well. Mr. Bashor would frequently

play games with Doe through their smart phones and “friended” her on Facebook and Instagram.

       34.     As Doe’s first year at Frenchtown High School progressed, Mr. Bashor also became

increasingly physically “touchy” with Doe. He began hugging her frequently and rubbing her back

and shoulders when he saw her.

       35.     Doe found this type of attention odd and confusing and began to ask other students

about it. Her classmates dismissed the behavior stating that Mr. Bashor was just a friendly teacher.

Doe soon learned that Mr. Bashor was considered to be “touchy” by other students at Frenchtown

High School and was known to hold girls’ hands, put his arms around them, and otherwise engage

in close and inappropriate personal contact.

       36.     At the end of Doe’s sophomore year at Frenchtown, Mr. Bashor asked Doe to be

his teacher’s aide, which would require a lot more one on one interaction between Mr Bashor and

Doe. He explained that he needed her help in running the coffee shop and middle school programs



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that he participated in. While Doe was uncertain about becoming an aide, Mr. Bashor continued

to try to persuade her, even going so far as filling out the paperwork and handing her the form to

turn in.

           37.   At the same time, Mr. Bashor also encouraged Doe to join his choir group, even

though Doe was not interested in being a choir member. When he discovered that choir was full

for the fall 2016 semester, he encouraged Doe to join his percussion class instead and wait until a

choir spot opened up. When Doe resisted and stated that she does not read music or play an

instrument, Mr. Bashor told her he would give her lessons after school. Despite Doe’s repeated

reluctance to join a class that she had neither any interest nor skill in, Mr. Bashor continued to

pressure Doe to join the class.

           38.   Doe refused to sign up for the percussion class. Yet when she started back to school

in fall 2016, Bashor’s percussion class was on her class schedule.

           39.   As an aide for Mr. Bashor, and now a member of the percussion class, Doe was

required to spend a significant amount of time with Mr. Bashor. Mr. Bashor continued to erode

appropriate teacher student boundaries by routinely confiding in her about how strained his

marriage was becoming and the distress he was in due to his desire to have children. At the same

time, Mr. Bashor began complimenting Doe regularly in class about her physical appearance.

           40.   On one occasion during her sophomore year, Doe was on her period and needed to

use the bathroom to change her tampon. Mr. Bashor asked her to tell him what the issue was and

when she did, he offered her Ibuprofen and told her that he was experienced with feminine issues

and happy to talk with her about them more if needed. Mr. Bashor also let her know that he kept

extra pads and other feminine products in his office and that she was free to come to his office and

use them as needed.



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       41.     Mr. Bashor’s attention to Doe’s period and female cycles became more disturbing

as the year continued. At times, he would randomly ask her if she was on her period, or ask her

why she was going to the bathroom. On one occasion, she acknowledged that she was on her period

and he wanted to discuss with her what types of birth control help alleviate cramps during

menstruation. These discussions made Doe extremely uncomfortable.

       42.     At one point when Mr. Bashor raised his wife’s inability to have a child, Mr. Bashor

stated to Doe that her period cramps would go away if she got pregnant, but that she shouldn’t let

her boyfriend get her pregnant.

       43.     On another occasion, Mr. Bashor asked Doe how her cramps were doing and

motioned toward her lower stomach. He then offered to “massage” her cramps to make them go

away but she refused.

       44.     In addition to his developing preoccupation with Doe’s menstruation cycle and

apparent fertility, Mr. Bashor also was gradually increasing his physical contact with Doe. Mr.

Bashor would regularly ask Doe to stand in front of his computer and proofread his emails before

he sent them. On multiple occasions, Mr. Bashor would grab Doe’s waist while she was reading

emails and pull her toward him. At other times Mr. Bashor would stand next to her and touch her

buttocks, putting his hands on her lower back and the upper part of her buttocks. When Doe

attempted to refuse his gestures or step away to break the physical contact, Mr. Bashor would

abandon the physical contact and go back to work as though nothing had happened.

       45.     On one occasion, Doe was proof-reading an email when Mr. Bashor was seated on

the desk chair and pulled Doe onto his lap. Doe immediately got up off his lap and Mr. Bashor

commented “yeah, my wife will be here soon anyways and I’m sure she wouldn’t like that.”




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       46.     On another occasion during the fall semester, Doe was discussing with Mr. Bashor

about what she wanted to do as a profession after she graduated. Doe told Mr. Bashor that she was

interested in being a massage therapist. Mr. Bashor told her that he had taken massage therapy

classes in college and offered to show her his specific techniques. Doe declined.

       47.     Mr. Bashor’s inappropriate touching and offers of touching also happened outside

of the classroom. During a separate occasion toward the end of the fall semester in 2016, Doe was

working at the coffee shop on Frenchtown High School’s campus when Mr. Bashor came up beside

her and placed his hand on her mid-back and then moved it slowly down to her buttocks. Doe

pulled away and tried to maneuver her way around the counter so that she could continue working

but Mr. Bashor followed her and tried to hug her. Doe then left the coffee shop entirely and went

into the percussion room, which was next to the coffee shop. Mr. Bashor again followed her into

the percussion room. Doe stayed in the percussion room for a few minutes, hoping Mr. Bashor

would go away. Instead, he approached her again and began rubbing her back. At this point, Doe

left and went to the school counselor’s office. She told them she just needed a minute and they let

her stay there until she was ready to return to class.   After this incident, Doe decided that she

needed to change her schedule to get out of any classes that she had with Mr. Bashor.

                               Mr. Bashor Sexually Assaults Doe

       48.     On December 20, 2016, Doe was at the Frenchtown High School auditorium

helping to take down the set from a play.

       49.     As Doe was going to a school dance the next day, she was showing a picture of her

dress to Student B, another aide who was also helping to take down the set. Mr. Bashor heard this

conversation and stated that he wanted to see the picture of Doe in the dress that she had on her

phone. Upon viewing the photo, Mr. Bashor told Doe that he could “kind of see” her underwear



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underneath the dress and suggested she wear something underneath so that she wouldn’t make her

boyfriend feel uncomfortable. Mr. Bashor’s remark made Doe uncomfortable as her underwear

could not be seen and his comment indicated continued sexual attention.

       50.     Doe resumed hanging up the curtains on the set and Student B left the auditorium.

As she did so, Mr. Bashor came up behind her and put his hand on her buttocks. Doe tried to ignore

him and moved away from him to the other side of the curtain. Mr. Bashor followed her. Doe

began trying to break up the wooden set so that she could take it outside but Mr. Bashor continued

to follow her. He then tried to hug Doe.

       51.     Doe felt very uncomfortable at this point and decided to leave the set entirely. As

she turned to walk away, Mr. Bashor grabbed Doe’s arms and flung them over his shoulders so

that they were facing each other, their faces only inches apart. Doe dropped her arms back down

to her sides. As she did so, Mr. Bashor moved his hands up and under her sweatshirt, near her

breasts. Doe was completely overwhelmed and froze in panic before finally pulling away.

       52.     Mr. Bashor grabbed Doe a second time and tried to hug her again. As he was

holding her, Mr. Bashor leaned in with his eyes closed and his head tilted, and tried to kiss Doe on

the mouth.

       53.     Doe immediately jumped back before Mr. Bashor’s mouth touched hers. This

caused Mr. Bashor to step back as well, and as he did he commented “Oh, that was awkward.” A

few second later, Student B, came back into the auditorium and Doe used it as an opportunity to

quickly leave the room. She felt shaken by the encounter, uncomfortable and unsafe. Doe hid in

the bathroom for approximately an hour and a half. Finally, she worked up the courage to go back

to study hall class for the last ten minutes of the day. After the class was over, she hid from Mr.

Bashor in the cafeteria until her ride showed up.



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       54.     Following this incident, Doe did her best to avoid Mr. Bashor at school. After the

holiday break, Doe stayed out of his classroom for a few weeks using excuses such as having tests

that she needed to make up. In common spaces at the school Doe tried to stay with other friends

so that she would not have to face Mr. Bashor alone. Still, Doe would also run into him in the

hallway, where he would try to come up to her and put a hand on her shoulder.

       55.     As Doe continued to avoid Mr. Bashor at Frenchtown High School, he increasingly

tried to find her. He called Doe, texted her, and asked her if she was still at school. He would come

by her locker and ask her what was going on, and try to talk to her in hallways and at lunch.

       56.     These encounters frequently made Doe overwhelmed, panicked, and repulsed. She

could no longer look Mr. Bashor in the eye and frequently avoided him when she saw him around

the school.

       57.     Doe’s boyfriend, Student C, noticed that Doe was acting oddly and seemed shaken

and upset. He asked her what was wrong and told her he was worried about her. Doe then told

him what had happened and Student C encouraged her to tell her parents.

       58.     Despite Student C’s urgings, Doe initially refused to tell her parents about Mr.

Bashor’s behavior in the auditorium. Doe was afraid that if she told her parents, and they told the

school, no one would believe her. Mr. Bashor was everyone’s favorite teacher and Doe was afraid

she would be harassed by the students at school who liked Mr. Bashor.

       59.     As a result of keeping this to herself, Doe became moody and distant, and pushed

her parents away. Over time, Doe’s parents noticed a dramatic change in their daughter’s demeanor

and began to ask questions.

       60.     In mid-January 2017, Doe finally admitted to her parents what had happened. One

evening, Doe‘s mother took away her phone until she agreed to talk about what was going on. Doe



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told her mother that Mr. Bashor had been touching her for a while, including on her buttocks

outside of her clothes. She further told her mom that one day he had gone above and beyond that,

but did not describe further. Doe’s mother was shocked and told Doe that she would contact

Principal Haynes the next morning to immediately set up a meeting to discuss what was going on.

       61.     The next day, Doe had a panic attack at school after running into Mr. Bashor and

was taken to a school counselor, Bridget Rowe. The school counselor mentioned to Doe that she

had been coming in to see Ms. Rowe fairly often, and asked Doe if something was wrong. Doe

reported that something had happened with a boy teacher. The counselor told Doe that she needed

to speak with her boss to figure out what to do about this information. Doe explained that her mom

knew and was planning to contact Principal Haynes to set up a meeting. The school counselor said

she understood, but needed to talk to her boss. Doe went back to class and awaited word from the

school counselor. Eventually the school counselor called for her and explained that they needed to

go talk with Principal Haynes. They went down to Principal Haynes’ office and spoke briefly with

him and Assistant Principal Lewis. After getting some basic information about what had happened,

Principal Haynes said he didn’t want to talk to Doe anymore until she had a parent involved.



                          “I saw all the signs and failed to respond”

       62.     Principal Haynes then contacted Doe’s mother and set up a time for Doe and her

family to come in to discuss the matter. At this meeting, Doe described what Mr. Bashor had been

doing. Principal Haynes responded by dropping his head and telling Doe and her mother that he

had “seen all the signs” but “failed to respond.” Principal Haynes listened to Doe’s story in full

detail and appeared disgusted to learn what Mr. Bashor had done. He told the family that he would

do his best to make sure this was fully addressed.



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       63.     At the same time that Principal Haynes was dealing with the report from Doe and

counselor Rowe, the Missoula County Sheriff’s Office (“MCSO”) was informed of possible child

abuse involving Troy Bashor by a psychiatrist, Aubrei Cloud, through the Missoula child abuse

hotline. According to Ms. Cloud, her client, a 14 to 16 year old girl, told Ms. Cloud that she had

a friend at Frenchtown High School that Mr. Bashor had inappropriately touched and tried to kiss.

Lieutenant Robert Kennedy of the MCSO immediately contacted Principal Haynes and told

Principal Haynes that MCSO was aware of allegations against Mr. Bashor.

               FSD Finds Just Cause to Suspend Mr. Bashor

       64.     On January 13, 2017, in response to the allegations and report from MSCO,

Principal Haynes placed Mr. Bashor on administrative leave with pay, pending an investigation.

       65.     Lieutenant Kennedy also opened an investigation into the matter and requested to

be kept apprised of any further interviews that Principal Haynes conducted or any updates in the

school’s investigation.

       66.     The same day, Superintendent Cline provided Doe’s mother and Doe with a letter

acknowledging receipt of their complaint of inappropriate conduct against Mr. Bashor. The letter

acknowledged that the allegations constituted sex discrimination under Title IX and indicated that

FSD would conduct an investigation.

       67.     Over the following two weeks, Doe was asked to provide her story repeatedly to

Principal Haynes and Vice Principal Lewis. Both officials told her that throughout the repeated

recitations, Doe’s story had not changed or waivered and they were convinced that the assault had

happened. Throughout the interviews, Principal Haynes and Vice Principal Lewis made clear to

her that they believed her.




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       68.     After these initial interviews with Principal Haynes, Lieutenant Kennedy instructed

Doe’s mother and Doe to refrain from meeting with the school again or discussing the matter

further. He told them that he would share his notes and video from the criminal investigation with

the school. When Principal Haynes requested additional meetings with Doe, Doe’s mother

informed him of Lieutenant Kennedy’s instructions, including that he would give the school a copy

of the transcription of Doe’s criminal interview.

       69.     On January 27, 2017, only two weeks after opening an investigation into Mr.

Bashor’s behavior, FSD issued a “Documentation of Just Cause of Suspension” to Mr. Bashor,

finding that he had “shown poor judgment in maintaining professional boundaries between himself

and some of his students,” and required him to serve two days of suspension without pay on

January 26, 2017 and January 27, 2017.

       70.      Upon serving his suspension, FSD permitted Mr. Bashor to immediately return to

school, without notifying Doe of his return and without any limitation on his contact with Doe. As

Doe was overwhelmed with fear and anxiety upon learning of Mr. Bashor’s return without

restriction, her parents decided to seek a restraining order against Mr. Bashor to prevent him from

approaching or touching her while at school. Doe stayed out of school while she awaited the

restraining order.

       71.     On February 24, 2017, Doe received a temporary order of protection from Missoula

Justice of the Peace Landee Holloway which forbade Mr. Bashor from entering Frenchtown High

School.

       72.     On March 14, 2017, following an evidentiary hearing on the matter, Justice

Holloway found that sufficient cause existed to permanently restrain Mr. Bashor and ordered that

he remain fifteen feet away from Doe at Frenchtown High School and 1500 feet away from Doe



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at all other locations. In granting the order, Justice Holloway found that based on the evidence

presented at the hearing Doe was in danger of harm by Mr. Bashor.

       73.     At the hearing, many of Doe’s classmates, and their parents, showed up in support

of Mr. Bashor, and several students even testified on his behalf.

       74.     Three days after the judge’s order, Doe’s mother and Doe received a new letter

from Superintendent Cline indicating that FSD had “conducted an investigation into these

allegations,” and that FSD determined that “Mr. Bashor did violate boundaries with your

daughter,” but FSD “could not substantiate allegations of inappropriate sexual contact.”

Accordingly, FSD held that Mr. Bashor’s two days of paid suspension was sufficient punishment

but directed him not have contact with Doe, the same condition as in the restraining order. The

letter further indicated that Doe should inform Superintendent Cline and the District immediately

if any person retaliated against Doe so that they could take proper action, a promise they repeatedly

failed to uphold.

                    FSD’s Deliberate Indifference to Retaliation Against Doe

       75.     Following Doe’s report to FSD that Mr. Bashor had assaulted her, Doe began to

experience significant ongoing harassment from Mr. Bashor as well as some of his other students.

Despite repeated efforts by Doe to bring this harassment to the attention of FSD officials, little if

anything was done to help Doe.

       76.      In the weeks and months following her report of sexual assault, Doe was exposed

to extensive bullying, threats of violence, intimidation in the classroom, and ostraticization.

Although Doe and her mother reported the bullying and threats on an almost daily basis, neither

Frenchtown administrators nor teachers made any meaningful attempt to stop it.

       77.     The verbal harassment and threats that Doe experienced were ongoing and



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psychologically damaging. Doe was told to “go kill herself” by several students. In February and

March 2017, students would make vomiting noises at Doe in the halls in order to make fun of

Doe’s testimony during restraining order proceedings that Mr. Bashor made her “nauseous.” She

was also called “liar,” “lying bitch,” “slut” and accused of just reporting Mr. Bashor in order to

“get attention.” A group of seniors at Frenchtown High School frequently told Doe that they were

going to “kick her scrawny ass.”

       78.     Often this verbal harassment would occur in front of Frenchtown High School

teachers. For example, on March 23, 2017, Doe was in a creative writing class with two students

who began talking about Doe’s restraining order against Mr. Bashor. The two students had accused

Doe of “faking” everything. They pulled up articles about the restraining order on their computers

and began harassing Doe. Doe reported it to her teacher, Mrs. Mazzola, who told them to close

the websites and separated them. The students continued to glare at her in that period, and

continued to harass her the next day.

       79.     In late March 2017, Doe received a text from a friend telling her that everyone in

study hall was talking about her and called Doe a lying bitch and a whore. The study hall teacher,

Ms. Phippin, joined in the hazing telling the students that Doe was just trying to get attention.

       80.     The harassment escalated from verbal to physical in nature. On March 20, 2017,

another Frenchtown student, Student D, painfully shoulder checked Doe in the hallway. Doe

immediately reported it to Principle Haynes, but he told her that the school security cameras were

not working so he could not do anything. Principal Haynes never mentioned speaking with Student

D about these incidents. When Student D shoulder checked Doe again several days later, Principal

Haynes checked the security cameras and told Doe that it looked merely accidental.

       81.     The students also isolated Doe in her classrooms. This included moving all of their



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desks away from hers so that she would be left sitting alone in the classroom as though she was

contagious. This occurred in several classes including Algebra II, study hall, and English. Despite

witnessing this happening, none of Doe’s teachers responded or addressed the issue.

       82.     Doe was also harassed on social media. Students would repeatedly attempt to friend

her on platforms such as Instagram and Facebook, and send her threatening social media messages.

After Doe’s claims against Mr. Bashor were initially reported by the Missoula media, fellow

students outed her real name online and in news comments, while attacking her character. One

adult volunteer at the school, Kailey Hood, publicly commented that she doubted Doe’s credibility

and called her a “major drama queen and attention seeker.” Despite efforts by Doe’s mother to

bring this to Principal Haynes attention, he offered only to speak with the students, and did not

discipline them, despite the clear retaliation. The harassment predictably continued.

       83.     Doe further faced retaliation from teachers and administrators at her own school,

many of whom were very vocal in their support for Mr. Bashor, including circulating emails

suggesting that they “stood with Bashor,” loved Mr. Bashor and that the Missoulian had engaged

in “biased and false” reporting. Even Principal Haynes, the administrator charged with ensuring

Doe’s educational environment was free from hostility and retaliation freely shared emails

encouraging others to come out to support Mr. Bashor and denounce the Missoulian’s “false”

reporting.

       84.     Despite the fact that Doe, her parents, and her friends repeatedly reported this

bullying, harassment, and retaliation to Principal Haynes, little was done to stop it.

       85.     Rather than address the hostile environment at Frenchtown High School, Principal

Haynes’s only solution was to isolate Doe. When Doe would report bullying or harassment,

Principal Haynes would have Doe sit in a room by herself across from his office, or go stay with



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the school counselors, in order to avoid being bullied by fellow students. This forced Doe to miss

class and further isolated her from her peers. In so doing, Principal Haynes further cemented the

message that she was the problem at FSD.

       86.     When Doe pressed further about what could be done to stop the bullying, Doe was

told that Principal Haynes had talked to parents about it, but that he could not tell her more because

of confidentiality. He also told Doe there was nothing he could do to stop students from harassing

her on social media.

       87.     Doe also experienced ongoing harassment from Mr. Bashor. Mr. Bashor began

frequently hanging out near her classrooms. The frequency of Bashor’s presence near her

classrooms was not normal. For example, on March 20, 2017, Mr. Bashor stood outside the child

development class, which was near Doe’s locker and on the other side of the school from Bashor’s

classroom, and glared at her as she passed. On other occasions, Doe would notice Mr. Bashor

staring at her from across the room at school assemblies. Doe felt intimidated and eventually

stopped attending these assemblies.

       88.     Doe reported Mr. Bashor’s behavior to Principal Haynes, but Haynes told Doe that

it was not the school’s job to enforce the restraining order.

              Superintendent Cline Attacks Doe’s Credibility in the Missoulian

       89.     On March 22, 2017, Superintendent Cline took it upon himself to write an op-ed

with the Missoulian newspaper detailing the nature of Doe’s and Student A’s allegations and

defending FSD’s decision not to further discipline Mr. Bashor. Claiming the need to clear up some

issues he saw on social media, Superintendent Cline misrepresented the school’s investigation and

publicly attacked Doe’s credibility, suggesting that there was a “significant discrepancy in the

information that the student [Doe] provided to the school.” Superintendent Cline then went on to



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suggest that Doe refused to participate in any further investigation with FSD, a statement that is

also patently false.

        90.     The op-ed further disclosed details of FSD’s Title IX investigation into Mr. Bashor,

including their findings on Doe’s allegations.

        91.     The information disclosed by Superintendent Cline in this opinion piece constituted

private educational records of Student A and Doe, which were illegally disclosed by

Superintendent Cline to the public without Student A and Doe’s permission, in violation of the

Federal Educational Rights and Privacy Act.

        92.     In further violation of the federal statute, Superintendent Cline provided the

Missoulian with copies of the actual student records.

        93.     Once Superintendent Cline’s guest column ran in the Missoulian, Doe and her

family began receiving increased harassment from individuals who were now citing to the column

as the proof that she is a liar.

        94.     As a result of Superintendent Cline’s actions, Doe felt increasingly unsafe both at

home and in her community and her other family members began to experience threats of violence

as well. While driving through Frenchtown, people would yell at them or drive by and flip them

off. Individuals would drive by their home and yell obscenities or “liar” and say they needed to

leave town.

        95.     As a result of the increasing and overwhelming hostile retaliation from the students,

teachers, and Superintendent Cline, Doe was forced to leave Frenchtown High School and she and

her family have moved from Frenchtown, Montana.

        96.     This ongoing bullying, intimidation, and harassment, as well as the constant threat

of running into Mr. Bashor at school, took a significant mental toll on Doe including anxiety,



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isolation, feelings of depression and even thoughts of suicide.

                                     First Claim for Relief
                           Violation of Title IX (20 U.S.C. § 1681(a))
                           Indifference to Substantial Risk of Harm
                                        (Defendant FSD)

        97.    Doe re-alleges each and every allegation set forth in paragraphs 1 through 95 as

though fully set forth herein.

        98.    Beginning in 2014, FSD had actual knowledge of a substantial risk of harm to

female students at Frenchtown High School based on reports by Student A and her mother of

severe and pervasive sexual harassment by Mr. Bashor.

        99.    FSD acted with deliberate indifference to these reports when it failed to conduct an

investigation into the reports of harassment by Mr. Bashor, or otherwise address Mr. Bashor’s

inappropriate behaviors. This failure to take any action, despite FSD’s authority to do so, was

clearly unreasonable in light of known circumstances.

        100.   As a direct and proximate result of FSD’s failure to respond to reports of

harassment by Mr. Bashor, Doe was subjected to sexual harassment and assault by Mr. Bashor in

2016.

        101.   Doe was subjected to physical sexual harassment, sexual assault and sexual

discrimination that were so severe, pervasive and objectively offensive that she was denied access

to educational opportunities and benefits, including being subjected to a hostile educational

environment and forced to leave Frenchtown High School entirely.

        102.   In addition, Doe has suffered and continues to suffer from considerable anxiety and

emotional distress regarding her experience, safety and well-being.

        103.   Doe has suffered these and other damages as a result of FSD’s violations of Title

IX of the Education Amendments of 1972, 20 U.S.C. § 1681(a), as set forth above.


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                                   Second Claim for Relief
                          Violation of Title IX (20 U.S.C. § 1681(a))
                Deliberate Indifference to a Hostile Educational Environment
                                       (Defendant FSD)

        104.    Doe re-alleges each and every allegation set forth in paragraphs 1 through 102 as

though fully set forth herein.

        105.    Following Doe’s report of sexual assault, FSD had actual knowledge that Jane Doe

was suffering in a hostile educational environment due to repeated reports of severe and pervasive

ongoing harassment, retaliation and discrimination by students and teachers at Frenchtown High

School, including Superintendent Cline’s own efforts to attack and discredit Doe in the media.

        106.    FSD acted with deliberate indifference to these reports of harassment, retaliation,

and discrimination when it failed to address these reports, remedy Superintendent Cline’s conduct,

discipline students engaging in retaliation against Doe, or otherwise take measures to ensure a safe

educational environment for Doe. FSD’s failure to take any action to stop this harassment and

retaliation, despite its authority to do so, was clearly unreasonable in light of known circumstances.

        107.    As a direct and proximate result of FSD’s deliberate indifference, Doe was

subjected to an ongoing hostile educational environment.

        108.    The hostile environment that Doe experienced was so severe, pervasive and

objectively offensive that she was denied access to educational opportunities and benefits, her

grades suffered substantially and she was ultimately forced to leave FSD.

        109.    In addition, Doe has suffered physical harm, considerable anxiety, and emotional

distress as a result of the school’s indifference.

        110.    Doe has suffered these and other damages as a result of FSD’s violations of Title

IX of the Education Amendments of 1972, 20 U.S.C. § 1681(a), as set forth above.




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                                    Third Claim for Relief
                           Violation of Title IX (20 U.S.C. § 1681(a))
                                           Retaliation
                                        (Defendant FSD)

        111. Doe re-alleges each and every allegation set forth in paragraphs 1 through 109 as

though fully set forth herein.

       112.    Doe was engaging in a federally protected activity when she reported Mr. Bashor

for sexual assault and sexual harassment. See Emeldi v. Univ. of Oregon, 673 F.3d 1218, 1224

(9th Cir. 2012).

       113.    FSD and Superintendent Cline’s attack on Doe’s credibility, and release of her

federally protected student records to the Missoulian, were adverse actions that intentionally

subjected Doe to additional harassment, threats and discrimination.

       114.    FSD and Superintendent Cline’s actions were taken in direct response to Doe’s

federally protected reporting of Mr. Bashor to the school and the police for sexual assault and

sexual harassment, and constituted acts of retaliation under Title IX.

       115.    Doe has suffered damages as a result of FSD and Superintendent Cline’s violations

of Title IX of the Education Amendments of 1972, 20 U.S.C. § 1681(a), as set forth above.



                                  FOURTH CLAIM FOR RELIEF
                        Violation of 42 U.S.C. § 1983 – Equal Protection
                               (Defendant Superintendent Cline)

       116.    Doe re-alleges each and every allegation set forth in paragraphs 1 through 114 as

though fully set forth herein.

       117.    Based upon reports made to Cline, Defendant Superintendent Cline actually knew

of Mr. Bashor’s sexual harassment and sexual assault of students at Frenchtown High School.

       118.    Defendant Superintendent Cline had supervisory authority and control over Mr.


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Bashor’s behavior.

       119.    Nonetheless, Defendant Superintendent Cline acquiesced in Mr. Bashor’s sexual

misconduct by refusing to respond reasonably to it, by investigating and redressing that conduct,

or by reporting it to the appropriate authorities as required by Montana law.

       120.    Federal Title IX law and Montana’s mandatory reporting statute were clearly

established at the time of Defendants’ actions and failures to act such that a reasonable official in

Defendants’ position would have understood that her or his conduct implicated Doe’s

constitutional rights. Oona R.-S.- by Kate S. v. McCaffrey, 143 F.3d 473, 476 (9th Cir. 1998).

       121.    Doe has suffered significant damages as a result of these violations of 42 U.S.C.

1983, as set forth above.

                                       PRAYER FOR RELIEF

       On her claim for relief, Plaintiffs seek the following:

       A.      An award of damages to be determined at trial, including, without limitation,

reimbursement and prepayment for all of Plaintiffs’ expenses incurred as a consequence of the

assaults; damages for deprivation of equal access to the educational benefits and opportunities

provided by FSD, damages for past, present and future emotional pain and suffering, ongoing and

severe mental anguish, and loss of past, present and future enjoyment of life in an amount to be

determined by the jury;

       B.      An award of punitive damages under 42 U.S.C. § 1983 with respect to Defendant

Superintendent Cline;

       C.      Statutory and mandatory interest on all sums awarded;

       D.      An award of costs and attorney fees (pursuant to 42 U.S.C. § 1988(b)); and

       E.      Any other relief as is proper.



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PLAINTIFFS DEMAND A JURY TRIAL OF ALL ISSUES SO TRIABLE

Dated: April 12, 2018.

                             Respectfully submitted,



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                          CERTIFICATE OF SERVICE

      I hereby certify that on April 13, 2018 I electronically filed the foregoing with
the Clerk of Court for the Federal District Court of Montana, Missoula Division, by
CM/ECF.

      I certify that all participants in this case are registered CM/ECF users, who
receive service electronically through the CM/ECF system:

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                                              _/s/ John C. Clune
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